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                        UNITED STATES BANKRUPTCY COURT
                                    District of South Carolina


In re:                                          )
         Walter Frank Pigg                      )            NOTICE OF APPEARANCE
                                                )
                Debtor(s)                       )            Case No.: 19-03201-jw
                                                )            Chapter 13
                                                )
                                                )            Bankruptcy Judge Waites

To:      The clerk of court and all parties of record:

         PLEASE TAKE NOTICE that the undersigned attorney, Robert R. Sansbury, III of

Sansbury Law Firm, LLC hereby enters an appearance on behalf of Howard Pollock, Frandi Mars,

Richard Garbutt, Elizabeth Garbutt, Kim Hyung, Andrew Brandt, Daniel Smith, Nancy Smith,

Dwight McPherson, Janice McPherson, Richard Friend, Wendy Friend, James Portagallo,

Marguerite Portagallo, Earl Glenn Sears, Angela Sears, Mark S. Bricker and Mary Bricker,

creditors in the above-captioned Chapter 13 case, requests, pursuant to Rules 2002 and 9007 of

the Federal Rules of Bankruptcy Procedure (the Bankruptcy Rules) and sections 102(1), 342 and

1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the

Bankruptcy Code), that all notices given or required to be given and all papers served or required

to be served in this case be also given to and served, whether electronically or otherwise, on

                                      Robert R. Sansbury, III
                                     Sansbury Law Firm, LLC
                                         4728 Jenn Drive
                                            Suite 102
                                     Myrtle Beach, SC 29577
                                   Telephone: (8430 315-9945
                                    Facsimile: (866) 842-8011
                                 Email: Robert@SansburyLaw.com

                                (SIGNATURE PAGE TO FOLLOW)
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                                    SANSBURY LAW FIRM, LLC



                                    s/Robert Sansbury
                                    Robert R. Sansbury, III
                                    Federal Bar No.: 10621
                                    4728 Jenn Drive, Suite 102
                                    Myrtle Beach, SC 29577
                                    Phone: (843) 315-9945
                                    Fax: (866) 842-8011
                                    Email: Robert@SansburyLaw.com

July 19, 2019
Myrtle Beach, SC
